       Case:1:20-cv-00184-DCN
       Case  20-35813, 09/13/2022, ID: 12538994,
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                   UNITED STATES COURT OF APPEALS                       FILED
                          FOR THE NINTH CIRCUIT                          SEP 13 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
LINDSAY HECOX; JANE DOE, with her              No.    20-35813
next friends Jean Doe and John Doe,
                                               D.C. No. 1:20-cv-00184-DCN
               Plaintiffs-Appellees,           District of Idaho,
                                               Boise
 v.
                                               ORDER
BRADLEY LITTLE, in his official capacity
as Governor of the State of Idaho; et al.,

               Defendants-Appellants,

and

MADISON KENYON; MARY
MARSHALL,

               Intervenors.


LINDSAY HECOX; JANE DOE, with her              No.    20-35815
next friends Jean Doe and John Doe,

               Plaintiffs-Appellees,           D.C. No. 1:20-cv-00184-DCN

 v.

BRADLEY LITTLE, in his official capacity
as Governor of the State of Idaho; et al.,

               Defendants,

and

MADISON KENYON; MARY
        Case:1:20-cv-00184-DCN
        Case  20-35813, 09/13/2022, ID: 12538994,
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MARSHALL,

                 Intervenors-Appellants.

Before: KLEINFELD, WARDLAW, and GOULD, Circuit Judges.

      Intervenors-Appellants’ motion to stay the supplemental briefing (Dkt. 158)

is DENIED. Intervenors-Appellants originally requested supplemental briefing to

“address the district court’s mootness determination.” Mot. Dkt. 153. They then

filed a motion for a one-week extension of time premised on the assertion that

Hecox “apparently did not make the women’s cross-country team for the Fall 2022

semester.” See Mot. Dkt. 155. Based on the representations in that motion, the

Court granted the requested extension and ordered further briefing on the issue of

standing. Dkt. 157.

      Now, Intervenors-Appellants request a stay of supplemental briefing on the

basis that their initial description of the facts was in error and the BSU cross-

country tryouts have apparently not yet been held. Mot. Dkt. 158. The Court

denies their request and directs the parties to brief: (1) the issue of whether the

district court correctly determined the mootness issue; (2) the issue of Hecox’s

standing. Intervenors-Appellants already filed their brief on September 9, 2022.

Plaintiffs-Appellees’ reply brief is due September 23, 2022.

      Please be advised that we are not inclined to grant further extensions of time,

and that the Court should be updated with all relevant facts regarding Hecox’s


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eligibility and status as they are confirmed.

      IT IS SO ORDERED.




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